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      APPEARANCE SHEET FOR HEARING BEFORE
                  JUDGE PÉREZ
             Tuesday, January 14, 2025
First Name         Last Name      Firm Name                        Client Name

Samuel Marc        Buchman        Manier & Herod, P.C.             Ascot Insurance Company
Joseph             Caulfield      Mizner Law Firm                  Lonnie Wright,
                                                                   Deborah   Young, Eugene
                                                                                      as the Miller,
                                                                                             Personal Cedric Stewart
                                                                                                        Representative of
Mark               Criage         Crowe Dunlevy                    the Estate of Gwendolyn Young, as a
Catherine          Curtis         Wick Phillips
                                  Michigan  Department of          Deppe and
                                                                   Michigan    Adena Claimants
                                                                             Department    of Corrections and Michigan
Scott              Damich         Attorney General                 Department
                                                                   Wellpath     of Technology,
                                                                             Holdings,            Management
                                                                                        Inc., et al.,           and
                                                                                                      Debtors and Debtors-
David              Genender       McDermott Will & Emery LLP       in-Possession
Marc               Ginsberg       Mandina
                                  Bonds    & Ginsberg,
                                         Ellis           PLLC
                                               Eppich Schafer      Gracienne Myers & Daniel Myers
Aaron              Guerrero       Jones LLP                        Diamond Drugs Inc.
Holly              Hamm           Mehaffy Weber PC                 Jamie Vinson
Zachary            Hemenway       Stinson LLP                      Statutory Unsecured Claimholders' Committee
Susan              Hersh          U.S. Trustee                     U.S. Trustee
Madeleine          Hoss           Oliver Maner LLP                 Effingham
                                                                   Valerie    County
                                                                           Tobia,  as Personal Representative of the
Josh               Judd           Andrews Myers, P.C.              Estate of Holdings,
                                                                   Wellpath  Joseph KirkInc., et al., Debtors and Debtors-
James              Kapp           McDermott Will & Emery LLP       in-Possession
John               Lucy           Thomas, Thomas, and Hafer        Dr. Marty Holdings,
                                                                   Wellpath  Cole       Inc., et al., Debtors and Debtors-
Felicia            Perlman        McDermott Will
                                  Vartabedian      & Emery
                                                Hester and LLP     in-Possession
Jeff               Prostok        HaynesChristiana
                                  Kopke   LLP        & Rastetter   Cobb County
Clyde              Rastetter      LLP                              Co-counsel for plaintiff/claimant Mary Smith
Cortney            Robinson       Department
                                  Emery        of Justice
                                         Celli Brinckerhoff        United
                                                                   Liza    Statesas Administrator of the Estate of
                                                                        Pizarro
Katherine          Rosenfeld      Abady Ward & Maazel LLP          Daruis Pizarro
Casey              Roy            Ross, Smith & Binford, PC        Susan N. Goodman, Patient Care Ombudsman
Brandy             Sargent        K&L Gates LLP                    Edward Major
R. J.              Shannon        Shannon & Lee LLP                ClaimantsEvans
                                                                   Kenneth    in 33 and
                                                                                     Lawsuits
                                                                                          Kenyareflected
                                                                                                 Evans, inasECF  245-1
                                                                                                             Independent
Adrian             Spearman       Spearman Legal Firm, P.C.        Administrators of the Estate of Khayla J. Evans
Jessica            Winters        The Winters Law Group, LLC       Dawn Crawford - creditor
